Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 1 of 31 PageID #: 968
        Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 2 of 31 PageID #: 969
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                              Eastern District of Texas

           SIGNODE INDUSTRIAL GROUP LLC,
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 2:24-cv-00080-JRG
  SAMUEL, SON & CO., LTD and SAMUEL, SON &                                     )
               CO. (USA) INC                                                   )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                              DIMONTE GROUP, INC.
                                                                  c/o Foley & Lardner LLP
                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: K&L Gates LLP                                                                  Date and Time:
           70 W Madison St, Suite 3300                                                                       10/09/2024 5:00 pm
           Chicago, IL 60602

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached  Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      /s/ Nathan Fuller
                                           Signature of Clerk or Deputy Clerk                                         Attorneys signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Signode Industrial Group LLC                                             , who issues or requests this subpoena, are:
Nathan Fuller, K&L Gates LLP, 70 W Madison St, Suite 3300, Chicago, IL 60602; nathan.fuller@klgates.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 3 of 31 PageID #: 970
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:24-cv-00080-JRG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one days attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Servers signature



                                                                                                 Printed name and title




                                                                                                    Servers address

Additional information regarding attempted service, etc.:
        Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 4 of 31 PageID #: 971
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained experts opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the experts
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a partys officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanctionwhich may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorneys feeson a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premisesor to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a partys officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is requiredand also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing courtmay hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 5 of 31 PageID #: 972




              ATTACHMENT A
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 6 of 31 PageID #: 973




                                        ATTACHMENT A

       This subpoena and document request pertains to the matter of Signode Industrial Group

LLC v. Samuel, Son & Co., Ltd. et al, Case No. 2:24-cv-00080-JRG (E.D. Tex.).

       The parties in this matter have entered into a Protective Order to prevent the disclosure of

private or sensitive information. Documents produced by You pursuant to this Subpoena may be

marked as subject to the applicable Protective Order, provided that they qualify for protection

thereunder. A true and correct copy of the Protective Order in this matter is attached hereto as

Attachment B for your review and consideration.

       The Document Requests seek DOCUMENTS and COMMUNICATIONS within YOUR

possession, custody, and/or control. This includes, but is not limited to, any and all DOCUMENTS

and COMMUNICATIONS contained on any of YOUR devices (INCLUDING laptop computers,

desktop computers, iPads, cell phones, external drives, cloud accounts, etc.), as well as on any of

Your electronic and/or cloud accounts (INCLUDING email, text messages, Slack, etc.).

                                          DEFINITIONS

       1.      DiMonte Group or You means DiMonte Group, Inc. and its officers, directors,

employees, representatives, consultants, agents, servants, attorneys, accountants, or any other

person or entity acting on its behalf, or any person or entity that served in any such role any time,

as well as corporate parents, subsidiaries, affiliates, divisions, predecessor companies or

proprietorships.

       2.      Signode means Plaintiff Signode Industrial Group LLC and its present and

former directors, officers, employees, parent organization(s), subsidiary organization(s),

predecessors in interest, successors in interest, divisions, servants, agents, attorneys, consultants,




                                                  1
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 7 of 31 PageID #: 974




partners, associates, investigators, representatives, accountants, financial advisors, distributors,

and any other person acting on its behalf, pursuant to its authority or subject to its control.

        3.        Defendant or Samuel means Defendants Samuel, Son & Co., Ltd. and Samuel,

Son & Co. (USA) Inc. d/b/a Samuel Packaging Systems Group and Samuel Strapping Systems

and its present and former directors, officers, employees, parent organization(s), subsidiary

organization(s), predecessors in interest, successors in interest, divisions, servants, agents,

attorneys, consultants, partners, associates, investigators, representatives, accountants, financial

advisors, distributors, and any other person acting on its behalf, pursuant to its authority or subject

to its control.

        4.        Case means the above-referenced litigation: Signode Industrial Group LLC v.

Samuel, Son & Co., Ltd. et al, Case No. 2-24-cv-00080-JRG (E.D. Tex.).

        5.        Asserted Patents means U.S. Patent Nos. 11,667,417; 11,667,418; and

11,932,430.

        6.        Person or persons include, without limitation, both natural persons and

entities (including corporations, proprietorships, partnerships, associations, joint ventures,

governmental agencies, and other entities, and any combination thereof, and all predecessors in

interest, successors, affiliates, subsidiaries, and related entities).

        7.        Document or documents include all things within the meaning and scope of

that term as used in the Federal Rules of Civil Procedure and the Federal Rules of Evidence,

including Federal Rule of Civil Procedure 34(a).

        8.        Communication or communications mean every manner or method of the

disclosure, transfer, transmission, or exchange of information, in whatever form, by whatever

means, including, but not limited to, oral, written, face-to-face, telephone, facsimile, network



                                                    2
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 8 of 31 PageID #: 975




transfer, electronic mail, smartphone messages, voice-mail, text messages, postal mail, personal

delivery, or otherwise, at any time or place under any circumstances. The definition is not limited

to transfers between persons but also includes other transfers, such as records and memoranda to

file; any written letter, memorandum, or other document which was sent by one or more

individuals to another or others; any telephone call between one or more individuals and another

or others, whether such call was by chance or prearranged, formal or informal; and any

conversation or meeting between one or more individuals and another, whether such contact was

by chance or prearranged, formal or informal. This definition also includes all transcripts,

summaries, electronic recordings, audio tapes and audio files constituting, reflecting or

transcribing such communications.

       9.      Thing or things shall be interpreted broadly and include, but not be limited to,

products, parts, machines, equipment, prototypes, specimens, models, devices, apparatuses, and

commercially manufactured items.

       10.     Product or products mean a machine, manufacture, apparatus, device,

instrument, mechanism, appliance, system, or assemblage of components/parts (either individually

or collectively), which are designed to function together electrically, mechanically, chemically, or

otherwise, to achieve a particular function or purpose, including those offered for sale, sold, or

under development.

       11.     And and or shall be construed conjunctively or disjunctively as necessary to

make the requests inclusive rather than exclusive.

       12.     Accused Products as used herein means the STL-500 Battery Operated Plastic

Strapping Tool and products that operate in a similar manner, including, but not limited to the

following STL-500 products: 143089 - STL-500 HAND TOOL BATTERY, 12MM STRAP -



                                                 3
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 9 of 31 PageID #: 976




6PSTL50012 143090 - STL-500 HAND TOOL BATTERY, 16MM STRAP - 6PSTL50016

143092 - STL-500 HAND TOOL BATTERY, 19MM STRAP - 6PSTL50019 177692 - STL-500

HAND TOOL BATTERY, 16MM STRAP - 6PSTL50016(R).

                                        INSTRUCTIONS

       1.      If You contend that any document which would otherwise be producible in

response to any request may be withheld under the attorney-client privilege, the attorney-work

doctrine, or any other basis, state the following with respect to each such document to explain the

basis for the claim of privilege and to permit adjudication of the propriety of that claim:

                  a. The privilege asserted and its basis;

                  b. The nature of the document withheld (e.g. letter, memorandum, etc.);

                  c. The title of the document;

                  d. The date of the document;

                  e. The identity of the author(s) of the document;

                  f. The identity of each recipient of the document or any copy thereof;

                  g. The length of the document;

                  h. The location of the original and each copy of the document;

                  i. The general subject matter of the document, including a statement of

                      sufficient facts and circumstances to explain the basis of the claim privilege

                      and which will permit adjudication of the prosperity of the claim of privilege;

                      and

                  j. The identity of each person, other than your attorneys of record, having

                      knowledge of the factual basis asserted for the privilege.




                                                  4
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 10 of 31 PageID #: 977




        2.      If You object that a term or phrase in these requests is vague, ambiguous or

 indefinite, You are instructed to provide your understanding of the term or phrase, or what You

 believe to be a reasonable interpretation of the term or phrase, and respond in accordance with that

 understanding or interpretation.

        3.      If You object that a request is overbroad or to any extent beyond the scope of

 discovery, You are instructed to explain the manner in and extent to which it is overbroad or

 beyond the scope of discovery, provide a proposed narrowed request that You agree is not

 overbroad or beyond the scope of discovery, and respond to Your narrowed request.

        4.      If You object that a request is unduly burdensome, You are instructed to explain

 the manner in and extent to which it is unduly burdensome, provide a proposed narrowed request

 that You agree is not unduly burdensome, and respond to Your narrowed request.

        5.      If You object to only a portion of a request, You are instructed to identify the

 objectionable portion and to respond and produce documents with respect to the remaining

 portions.

        6.      If a request calls for a document or communication which has been destroyed,

 placed beyond Your possession, custody or control, or otherwise disposed of, set forth with respect

 to each such document or communication a brief, but complete, identification and description of

 the document or communication, including: (i) the identity of all individuals to whom the

 substance of the document or communication was transmitted, who saw such document or was

 part of such communication, or who otherwise know any of its contents, and under what

 circumstances; (ii) the present location of the document or communication, if not destroyed; and

 (iii) the name, title, home and business address, and home and business telephone number of the




                                                  5
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 11 of 31 PageID #: 978




 person(s) currently having possession, custody or control of the document or communication, if

 not destroyed.

        7.        Any documents and communication produced for inspection should be produced as

 they are kept in the usual course of business or organized and labeled to correspond to the

 categories in the requests. Documents and communications from any single file should be

 produced in the same order as they were found in such file.

        8.        In Your response to these requests, please restate the text of each request preceding

 Your response thereto.

                                DOCUMENTS TO BE PRODUCED

        1.        All Documents, Things, and Communications between You and Samuel

 concerning battery operated plastic strapping tools, including, but not limited to, any Documents,

 Things, and Communications related to the Accused Products.

        2.        All agreements between You and Samuel, including, but not limited to, all

 agreements reflecting any obligations of indemnity relating to the Accused Products, any

 agreement referencing and or referenced by such indemnity agreement relating to such obligations,

 and all agreements explaining Your obligation to support or assist in the defense against claims of

 patent infringement.

        3.        All Documents, Things, and Communications reflecting any analysis, comparison,

 or testing that You conducted with respect to the Accused Products, including, but not limited to,

 (1) any analysis or comparison of the Asserted Products against the Accused Patents and (2) any

 analysis, comparison, or testing of the Asserted Products against any Signode products.

        4.        All Documents, Things, and Communications evidencing any notice, advising, or

 awareness of any patents assigned to, owned by, and/or granted to Signode, including, but not



                                                    6
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 12 of 31 PageID #: 979




 limited to, any Communications between You and Samuel related to any patents assigned to,

 owned by, and/or granted to Signode.

          5.    All Documents, Things, and Communications concerning the market for battery

 operated plastic strapping tools, including, but not limited to, any Documents, Things, and

 Communications sufficient to identify Samuels competitors for battery operated plastic strapping

 tools.

          6.    All Documents and Things concerning Your practice, policy, or procedure for the

 retention of documents and/or classes or categories of documents, including, but not limited to, e-

 mail communications, spreadsheets, presentation materials, and word-processing materials.

          7.    All documents and things concerning Your practice, policy, or procedure for

 evaluating and reviewing patents during the process of product design, including, but not limited

 to, any freedom-to-operate analysis.




                                                 7
Case 2:24-cv-00080-JRG Document 52-3 Filed 09/18/24 Page 13 of 31 PageID #: 980




               ATTACHMENT B
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 114ofof1831PageID
                                                                       PageID#:#:372
                                                                                  981




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



 SIGNODE INDUSTRIAL GROUP LLC                       §
                                                    §
        v.                                          §          Case No. 2:24-CV-00 80-JRG
                                                    §
 SAMUEL, SON & CO., LTD., et al.                    §

                                      PROTECTIVE ORDER
        WHEREAS, Plaintiff Signode Industrial Group LLC (Signode or Plaintiff) and

 Defendants Samuel, Son & Co., Ltd. and Samuel, Son & Co. (USA) Inc. (collectively, Samuel or

 Defendants), hereafter referred to as the Parties, believe that certain information that is or will

 be encompassed by discovery demands by the Parties involves the production or disclosure of

 trade secrets, confidential business information, or other proprietary information;

        WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

 Federal Rule of Civil Procedure 26(c):

        THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

 1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

        any document, information or material that constitutes or includes, in whole or in part,

        confidential or proprietary information or trade secrets of the Party or a Third Party to whom

        the Party reasonably believes it owes an obligation of confidentiality with respect to such

        document, information or material (Protected Material). Protected Material shall be

        designated by the Party producing it by affixing a legend or stamp on such document,

        information or material as follows: CONFIDENTIAL or RESTRICTED -

        ATTORNEYS EYES ONLY.                The label CONFIDENTIAL or RESTRICTED -




                                                    1
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 215ofof1831PageID
                                                                       PageID#:#:373
                                                                                  982




       ATTORNEYS EYES ONLY shall be placed clearly on each page of the Protected Material

       (except deposition and hearing transcripts and documents produced in native format) for

       which such protection is sought. For deposition and hearing transcripts, the label

       CONFIDENTIAL or RESTRICTED - ATTORNEYS EYES ONLY shall be placed

       on the cover page of the transcript (if not already present on the cover page of the transcript

       when received from the court reporter) by each attorney receiving a copy of the transcript

       after that attorney receives notice of the designation of some or all of that transcript as

       CONFIDENTIAL. For documents produced in native format (e.g., Excel spreadsheets),

       the filename may be amended to include one of the aforementioned labels instead of

       labeling each page of the natively-produced document.

 2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

       Order with the designation Confidential or Confidential - Outside Attorneys Eyes Only

       shall receive the same treatment as if designated RESTRICTED - ATTORNEYS EYES

       ONLY under this Order, unless and until such document is redesignated to have a different

       classification under this Order.

 3.    With respect to documents, information or material designated CONFIDENTIAL

       or RESTRICTED - ATTORNEYS EYES ONLY (DESIGNATED MATERIAL), 1

       subject to the provisions herein and unless otherwise stated, this Order governs, without

       limitation: (a) all documents, electronically stored information, and/or things as defined by

       the Federal Rules of Civil Procedure; (b) all pretrial, hearing or deposition testimony, or

       documents marked as exhibits or for identification in depositions and hearings; (c) pretrial



       1
           The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
 to the class of materials designated as CONFIDENTIAL or RESTRICTED - ATTORNEYS
 EYES ONLY, both individually and collectively.



                                                 2
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 316ofof1831PageID
                                                                       PageID#:#:374
                                                                                  983




       pleadings, exhibits to pleadings and other court filings; (d) affidavits; and (e) stipulations.

       All copies, reproductions, extracts, digests and complete or partial summaries prepared

       from any DESIGNATED MATERIALS shall also be considered DESIGNATED

       MATERIAL and treated as such under this Order.

 4.    A designation of Protected Material (i.e., CONFIDENTIAL or RESTRICTED -

       ATTORNEYS EYES ONLY ) may be made at any time. Inadvertent or unintentional

       production of documents, information or material that has not been designated as

       DESIGNATED MATERIAL shall not be deemed a waiver in whole or in part of a claim for

       confidential treatment. Any party that inadvertently or unintentionally produces Protected

       Material without designating it as DESIGNATED MATERIAL may request destruction of

       that Protected Material by notifying the recipient(s), as soon as reasonably possible after the

       producing Party becomes aware of the inadvertent or unintentional disclosure, and

       providing replacement Protected Material that is properly designated. The recipient(s) shall

       then destroy all copies of the inadvertently or unintentionally produced Protected Materials

       and any documents, information or material derived from or based thereon.

 5.    CONFIDENTIAL documents, information and material may be disclosed only to the

       following persons, except upon receipt of the prior written consent of the designating party,

       upon order of the Court, or as set forth in paragraph 12 herein:

       (a)    outside counsel of record in this Action for the Parties;

       (b)    employees of such counsel assigned to and reasonably necessary to assist such
              counsel in the litigation of this Action;

       (c)    in-house counsel for the Parties who either have responsibility for making decisions
              dealing directly with the litigation of this Action, or who are assisting outside
              counsel in the litigation of this Action;

       (d)    up to and including three (3) designated representatives of each of the Parties to the




                                                 3
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 417ofof1831PageID
                                                                       PageID#:#:375
                                                                                  984




              extent reasonably necessary for the litigation of this Action, except that either party
              may in good faith request the other partys consent to designate one or more
              additional representatives, the other party shall not unreasonably withhold such
              consent, and the requesting party may seek leave of Court to designate such
              additional representative(s) if the requesting party believes the other party has
              unreasonably withheld such consent;

       (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or
              an affiliate of a Party) retained for the purpose of this litigation subject to the
              provisions of paragraph 19 below;

       (f)    independent litigation support services, including persons working for or as court
              reporters, graphics or design services, jury or trial consulting services, and
              photocopy, document imaging, and database services retained by counsel and
              reasonably necessary to assist counsel with the litigation of this Action;

       (g)    any mediator who is assigned to hear this matter, and his or her staff, subject to
              their agreement to maintain confidentiality to the same degree as required by this
              Order; and

       (h)    the Court and its personnel.

 6.    A Party shall designate documents, information or material as CONFIDENTIAL only

       upon a good faith belief that the documents, information or material contains confidential

       or proprietary information or trade secrets of the Party or a Third Party to whom the Party

       reasonably believes it owes an obligation of confidentiality with respect to such documents,

       information or material.

 7.    Documents, information or material produced pursuant to any discovery request in this

       Action, including but not limited to Protected Material designated as DESIGNATED

       MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

       be used for any other purpose. Any person or entity who obtains access to DESIGNATED

       MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

       duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

       portion thereof except as may be reasonably necessary in the litigation of this Action. Any




                                                 4
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 518ofof1831PageID
                                                                       PageID#:#:376
                                                                                  985




        such copies, duplicates, extracts, summaries or descriptions shall be classified

        DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

 8.     For the avoidance of doubt, nothing in the foregoing paragraph 7 shall preclude any person

        or entity who obtains access to Protected Material or the contents thereof pursuant to this

        Order from submitting such Protected Material to a closed 2 generative AI tool, provided

        that, before the receiving Party submits the designating Partys Protected Material to a

        closed generative AI tool, the receiving Party shall make reasonably sure that it can delete

        all produced information from the tool at the close of the Action. The receiving Party will

        be responsible for destroying such produced information from such tools at the close of the

        Action. Any material or information generated by a closed generative AI tool shall be

        considered Protected Material and shall receive the most restrictive designation as that of

        any Protected Material input into the closed generative AI tool. The receiving Party will be

        responsible for destroying any generated material or information from such tools at the

        close of the Action. To the extent a producing Party believes that certain Protected

        Material qualifying to be designated CONFIDENTIAL is so sensitive that its

        dissemination deserves even further limitation, the producing Party may designate such

        Protected Material RESTRICTED -- ATTORNEYS EYES ONLY.

 9.     For Protected Material designated RESTRICTED -- ATTORNEYS EYES ONLY, access

        to, and disclosure of, such Protected Material shall be limited to individuals listed in




 2
   A closed generative AI tool as used herein refers to a generative AI tool that uses input
 information solely for the purpose of generating the output information and the input and output
 information is only accessible to persons authorized to view the material under this Protective
 Order. For the avoidance of doubt, any generative AI tool that also uses input information for the
 purpose of training the generative AI tool is not a closed generative AI tool and not permitted
 under this Order.



                                                 5
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 619ofof1831PageID
                                                                       PageID#:#:377
                                                                                  986




       paragraphs 5(a-b) and (e-h). In the event that a Party has a reasonable need to share

       Protected Material designated RESTRICTED  ATTORNEYS EYES ONLY with

       individuals listed in paragraph 5(c), the requesting Party shall identify with specificity the

       Protected Materials sought to be shared and the reasonable need therefore, and the parties

       shall meet and confer regarding such request.         No disclosure of Protected Material

       designated RESTRICTED  ATTORNEYS EYES ONLY to individuals listed in

       paragraph 5(c), shall occur unless the Parties reach agreement or by Court order.

 10.   Any attorney representing a Party, whether in-house or outside counsel, and any person

       associated with a Party and permitted to receive the other Partys Protected Material that is

       designated RESTRICTED -- ATTORNEYS EYES ONLY (HIGHLY SENSITIVE

       MATERIAL), who obtains, receives, has access to, or otherwise learns, in whole or in

       part, the other Partys HIGHLY SENSITIVE MATERIAL under this Order shall not

       prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

       application pertaining to the field of the invention of the patents-in-suit on behalf of the

       receiving Party or its acquirer, successor, predecessor, or other affiliate during the pendency

       of this Action and for one year after its conclusion, including any appeals.        To ensure

       compliance with the purpose of this provision, each Party shall create an Ethical Wall

       between those persons with access to HIGHLY SENSITIVE MATERIAL and any

       individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

       affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

       patent application pertaining to the field of invention of the patent-in-suit. For sake of

       clarity, any attorney representing a Party, whether in-house or outside counsel, and any

       person associated with a Party and permitted to receive another Partys HIGHLY




                                                 6
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 720ofof1831PageID
                                                                       PageID#:#:378
                                                                                  987




       SENSITIVE MATERIAL, may participate, supervise, and assist in any and all post-

       issuance proceedings before the U.S. Patent and Trademark Office as well as similar

       proceedings in jurisdictions outside the U.S., including without limitation Inter Partes

       Review (IPR) proceedings, even if they have received the other Partys HIGHLY

       SENSITIVE MATERIAL, provided that they do not participate or assist in any claim

       drafting or amendment of claims in such proceedings (e.g., motion-to-amend practice in an

       IPR proceeding or claim amendments in a reexamination proceeding).

 11.   Nothing in this Order shall require production of documents, information or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information or

       other material subject to a claim of attorney-client privilege, work product doctrine, or other

       privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

       produces documents, information or other material it reasonably believes are protected under

       the attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

       may obtain the return of such documents, information or other material by promptly

       notifying the recipient(s) and providing a privilege log for the inadvertently or

       unintentionally produced documents, information or other material. The recipient(s) shall

       gather and return all copies of such documents, information or other material to the

       producing Party, except for any pages containing privileged or otherwise protected markings

       by the recipient(s), which pages shall instead be destroyed and certified as such to the

       producing Party.




                                                  7
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 821ofof1831PageID
                                                                       PageID#:#:379
                                                                                  988




 12.   Each party receiving such designated material shall comply with all applicable export

       control statutes and regulations. Nothing in this Order shall require the production of

       personally identifiable information (PII) that is protected or precluded from disclosure

       under the Federal Act on Data Protection (DPA), the General Data Protection Regulation

       (GDPR), or any other foreign or international law. Any such PII, as defined under

       applicable foreign or international law, shall be redacted from any documents and

       materials produced by a party without the need for the producing party to identify such PII

       in its privilege log. Any party that inadvertently or unintentionally produces documents,

       information or other material containing unredacted PII may obtain the return of such

       documents, information, or other material by promptly notifying the recipient(s). The

       recipient(s) shall gather and return all copies of such documents, information, or other

       material containing the unredacted PII to the producing Party, except for any pages

       containing properly redacted PII, which pages shall instead be destroyed and certified

       as such to the producing Party. The Parties agree, however, that this proceeding

       establishes a legal obligation to collect and produce documents and information that is

       subject to discovery in this litigation, including documents and information that may be

       located in foreign jurisdictions. No Party shall unreasonably withhold the names and any

       known past and/or current company name information of relevant witnesses located

       outside the U.S., and shall otherwise minimize withholding information to that strictly

       necessary to abide by legal restrictions associated with PII.

 13.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

       to have access thereto to any person who is not authorized for such access under this Order.

       The Parties are hereby ORDERED to safeguard all such documents, information and




                                                 8
 Case2:24-cv-00080-JRG
Case   2:24-cv-00080-JRG Document
                          Document52-3
                                   35 Filed
                                       Filed 06/29/24
                                             09/18/24 Page
                                                      Page 922ofof1831PageID
                                                                       PageID#:#:380
                                                                                  989




       material to protect against disclosure to any unauthorized persons or entities.

 14.   Nothing contained herein shall be construed to prejudice any Partys right to use any

       DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

       the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

       access to the DESIGNATED MATERIAL by virtue of his or her employment with the

       designating party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

       or copy recipient of such information, (iii) although not identified as an author, addressee,

       or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

       business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

       or employee of the producing Party or a current or former officer, director or employee of

       a company affiliated with the producing Party; (v) counsel for a Party, including outside

       counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

       contractor, consultant, and/or expert retained for the purpose of this litigation; (vii) court

       reporters and videographers; (viii) the Court; or (ix) other persons entitled hereunder to

       access to DESIGNATED MATERIAL. For avoidance of doubt, DESIGNATED

       MATERIAL may be shown to the designating partys witness(es) put forth to testify on

       behalf of that party under FRCP 30(b)(6).        DESIGNATED MATERIAL shall not be

       disclosed to any other persons unless prior authorization is obtained from counsel

       representing the producing Party or from the Court. Counsel for any producing Party shall

       have the right to exclude from oral depositions, other than the deponent, deponents

       counsel, the reporter and videographer (if any), and translators, any person who is not

       authorized by this Protective Order to receive or access Protected Material based on the

       designation of such Protected Material. Such right of exclusion shall be applicable only




                                                 9
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page10
                                                           23ofof18
                                                                  31PageID
                                                                     PageID#:#: 381
                                                                                 990




       during periods of examination or testimony regarding such Protected Material.

 15.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

       deposition or hearing transcript, designate the deposition or hearing transcript or any portion

       thereof as CONFIDENTIAL or RESTRICTED - ATTORNEY EYES ONLY

       pursuant to this Order. Access to the deposition or hearing transcript so designated shall be

       limited in accordance with the terms of this Order. Until expiration of the 30-day period,

       the entire deposition or hearing transcript shall be treated as confidential.

 16.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

       shall remain under seal until further order of the Court. The filing party shall be responsible

       for informing the Clerk of the Court that the filing should be sealed and for placing the

       legend FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER above the

       caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

       the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

       or an exhibit thereto, discloses or relies on confidential documents, information or material,

       such confidential portions shall be redacted to the extent necessary and the pleading or

       exhibit filed publicly with the Court.

 17.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

       this Action, or from using any information contained in DESIGNATED MATERIAL at

       the trial of this Action, subject to any pretrial order issued by this Court.

 18.   A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

       agree to redesignation within ten (10) calendar days of receipt of the written request, the




                                                 10
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page11
                                                           24ofof18
                                                                  31PageID
                                                                     PageID#:#: 382
                                                                                 991




       requesting Party may apply to the Court for relief. Upon any such application to the Court,

       the burden shall be on the designating Party to show why its classification is proper. Such

       application shall be treated procedurally as a motion to compel pursuant to Federal Rules

       of Civil Procedure 37, subject to the Rules provisions relating to sanctions. In making

       such application, the requirements of the Federal Rules of Civil Procedure and the Local

       Rules of the Court shall be met. Pending the Courts determination of the application, the

       designation of the designating Party shall be maintained.

 19.   DESIGNATION OF EXPERTS AND CONSULTANTS

          (a) Each outside consultant or expert to whom DESIGNATED MATERIAL is

              disclosed in accordance with the terms of this Order shall be advised by counsel

              of the terms of this Order, shall be informed that he or she is subject to the terms

              and conditions of this Order, and shall sign an acknowledgment that he or she has

              received a copy of, has read, and has agreed to be bound by this Order. A copy

              of the acknowledgment form is attached as Appendix A.

          (b) Before any DESIGNATED MATERIAL is disclosed to an outside consultant or

              expert, the following information must be provided in writing to the producing

              Party and received no less than seven (7) business days before the intended date of

              disclosure to that outside consultant or expert: the items specified in Federal Rules

              of Civil Procedure 26(a)(2)(B)(iv)-(vi), including an identification of which party

              was represented for any items listed under FRCP 26(a)(2)(B)(v), and any past

              consulting or employment relationship between the outside consultant or expert

              and either Party or any Party-affiliated entities.

          (c) If the producing Party objects to the disclosure of DESIGNATED MATERIAL to




                                                11
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page12
                                                           25ofof18
                                                                  31PageID
                                                                     PageID#:#: 383
                                                                                 992




             a receiving Partys outside consultant or expert, the producing Party shall within

             seven (7) business days of receipt serve written objections identifying the specific

             basis for the objection, and identifying the information to which disclosure is

             objected. Failure to object within seven (7) business days shall authorize the

             disclosure of DESIGNATED MATERIAL to the consultant or expert. As to any

             objections, the Parties shall attempt in good faith to promptly resolve any

             objections informally within five (5) business days of the objection. If the

             objections cannot be resolved, the Party seeking to prevent disclosure of the

             DESIGNATED MATERIAL to the outside consultant or expert shall move within

             five (5) business days of the meet and confer for an order of the Court preventing

             the disclosure. If no such motion is made within five (5) business days, disclosure

             to the consultant or expert shall be permitted. In the event that objections are made

             and not resolved informally, and a motion is filed, disclosure of DESIGNATED

             MATERIAL to the consultant or expert shall not be made except by order of the

             Court.

          (d) No Party shall attempt to depose any consultant or expert of another Party until

             such time as the consultant or expert is designated by the Party engaging the

             consultant or expert as a testifying expert.       Notwithstanding the preceding

             sentence, any Party may depose a consultant or expert as a fact witness provided

             that the Party seeking such deposition has a good faith, demonstrable basis

             independent of the Acknowledgement of Appendix A or the provided

             DESIGNATED MATERIAL that such person has personal knowledge of facts

             relevant to this Action or of facts likely to lead to the discovery of admissible




                                              12
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page13
                                                           26ofof18
                                                                  31PageID
                                                                     PageID#:#: 384
                                                                                 993




               evidence, independent of any knowledge that such person develops through work

               as a consultant or expert in this Action; however, such deposition, if it precedes the

               designation of such person by the engaging Party as a testifying expert, shall not

               include any questions regarding the scope or subject matter of the engagement. In

               addition, if the engaging Party chooses not to designate the consultant or expert as

               a testifying expert, the non-engaging Party shall not seek discovery or trial

               testimony as to the scope or subject matter of the engagement.

 20.   To the extent that any discovery is taken of persons who are not Parties to this Action

       (Third Parties) and in the event that such Third Parties contended the discovery sought

       involves trade secrets, confidential business information, or other proprietary information,

       then such Third Parties may agree to be bound by this Order.

 21.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as CONFIDENTIAL or RESTRICTED -- ATTORNEYS EYES ONLY

       any documents, information or other material, in whole or in part, produced or given by

       such Third Parties. The Third Parties shall have ten (10) days after production of such

       documents, information or other materials to make such a designation. Until that time

       period lapses or until such a designation has been made, whichever occurs sooner, all

       documents, information or other material so produced or given shall be treated as

       RESTRICTED -- ATTORNEYS EYES ONLY in accordance with this Order.

 22.   If a Party is served with a subpoena issued by a court, arbitral, administrative, or legislative

       body, or with a court order issued in other litigation that compels disclosure of any

       information or items designated pursuant to this Order, that Party must:

               a. notify the designating Party via email within 5 business days of receiving the




                                                 13
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page14
                                                           27ofof18
                                                                  31PageID
                                                                     PageID#:#: 385
                                                                                 994




       subpoena. Such notification shall include a copy of the subpoena or court order;

              b. promptly notify in writing the person who caused the subpoena or order to issue

       in the other litigation that some or all of the material covered by the subpoena or order is

       subject to this Protective Order. Such notification shall include a copy of this Protective

       Order and copy counsel for the designating Party; and

              c. not interfere with respect to all reasonable procedures sought to be pursued by the

       designating Party whose DESIGNATED MATERIAL may be affected. If the designating

       Party timely seeks a protective order, the Party served with the subpoena or court order shall

       not produce any information designated pursuant to this Order before a determination by the

       Court from which the subpoena or order issued, unless the Party has obtained the designating

       Partys permission, or required by court order to do so. The designating Party shall bear the

       burden and expense of seeking protection in that court of its confidential material, and

       nothing in these provisions should be construed as authorizing or encouraging a receiving

       Party in this action to disobey a lawful directive from another court.

 23.   Within thirty (30) days of final termination of this Action, including any appeals, all

       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

       into any privileged memoranda of the Parties and materials which have been admitted into

       evidence in this Action), shall at the producing Partys election either be returned to the

       producing Party or be destroyed. The receiving Party shall verify the return or destruction

       by affidavit furnished to the producing Party, upon the producing Partys request. The

       foregoing requirements do not apply to DESIGNATED MATERIAL that has been

       archived on backup media or otherwise stored as difficult-to-access backup data according




                                                 14
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page15
                                                           28ofof18
                                                                  31PageID
                                                                     PageID#:#: 386
                                                                                 995




       to a Receiving Partys normal or allowed processes.

 24.   The failure to designate documents, information or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a

       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order and/or the production of documents, information and

       material hereunder shall in no way constitute a waiver of any objection to the furnishing

       thereof, all such objections being hereby preserved.

 25.   Any Party knowing or believing that any other party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       party and has been unable to resolve the matter by agreement may move the Court for such

       relief as may be appropriate in the circumstances. Pending disposition of the motion by the

       Court, the Party alleged to be in violation of or intending to violate this Order shall

       discontinue the performance of and/or shall not undertake the further performance of any

       action alleged to constitute a violation of this Order.

 26.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

       publication of the documents, information and material (or the contents thereof) produced

       so as to void or make voidable whatever claim the Parties may have as to the proprietary and

       confidential nature of the documents, information or other material or its contents.

 27.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

 28.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

       Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

       if reasonably necessary to prepare and present this Action and (b) to apply for additional




                                                  15
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page16
                                                           29ofof18
                                                                  31PageID
                                                                     PageID#:#: 387
                                                                                 996




       protection of DESIGNATED MATERIAL.

 29.   This Order shall be binding upon the Parties, their attorneys, and their successors,

       executors, personal representatives, administrators, heirs, legal representatives, assigns,

       subsidiaries, divisions, employees, agents, retained consultants and experts, and any

       persons or organizations over which they have direct control. This paragraph applies only

       to the extent any such person or entity has received DESIGNATED MATERIAL.

 30.   To the extent any Party finds that the provisions of this Order are interfering with the

       efficient preparation of the case for trial or that stricter provisions may be necessary for

       the protection of a Partys confidential information, they may seek modifications from the

       Court without being prejudiced by having agreed to any of the provisions.


       So Ordered this
       Jun 29, 2024




                                                16
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page17
                                                           30ofof18
                                                                  31PageID
                                                                     PageID#:#: 388
                                                                                 997




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



 SIGNODE INDUSTRIAL GROUP LLC                   §
                                                §
       v.                                       §           Case No. 2:24-CV-0080-JRG
                                                §
 SAMUEL, SON & CO., LTD., et al.                §


                               APPENDIX A
            UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                           PROTECTIVE ORDER
       I, ___________________________________________, declare that:

 1.    My address is _________________________________________________________.

       My current employer is _________________________________________________.

       My current occupation is ________________________________________________.

 2.    I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

 3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes of this action any information designated as CONFIDENTIAL or

       RESTRICTED -- ATTORNEYS EYES ONLY that is disclosed to me.

 4.    Promptly upon termination of these actions, I will return all documents and things

       designated as CONFIDENTIAL or RESTRICTED -- ATTORNEYS EYES ONLY

       that came into my possession, and all documents and things that I have prepared relating

       thereto, to the outside counsel for the party by whom I am employed.

 5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the
 Case2:24-cv-00080-JRG
Case  2:24-cv-00080-JRG Document
                         Document52-3
                                  35 Filed
                                      Filed06/29/24
                                            09/18/24 Page
                                                      Page18
                                                           31ofof18
                                                                  31PageID
                                                                     PageID#:#: 389
                                                                                 998




       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

 Signature ________________________________________

 Date ____________________________________________
